                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                        at WINCHESTER

 UNITED STATES OF AMERICA


 v.                                                      Case No. 4:06-CR-8

 WILLIAM DANIEL                                          COLLIER/CARTER

                                                 /


                                   REPORT AND RECOMMENDATION


          Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on Wednesday,

 June 28, 2006. At the hearing, defendant entered a plea of guilty to Count One of the Forty-Four

 Count Indictment. There is no plea agreement in this case. On the basis of the record made at the

 hearing, I find that the defendant is fully capable and competent to enter an informed plea; that

 the plea is made knowingly and with full understanding of each of the rights waived by

 defendant; that it is made voluntarily and free from any force, threats, or promises, that the

 defendant understands the nature of the charge and penalties provided by law; and that the plea

 has a sufficient basis in fact.

          I therefore recommend that defendant's plea of guilty to Count One of the Forty-Four

 Count Indictment alleging a violation of 21 U.S.C. § 841(a)(1) be accepted, that the Court

 adjudicate defendant guilty of the charges set forth in Count One of the Indictment. I further

 recommend that defendant remain in custody until sentencing in this matter. Acceptance of the

 plea, adjudication of guilt, and imposition of sentence are specifically reserved for the district

 judge.

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 Dated: June 28, 2006                        s/William B. Mitchell Carter
                                              UNITED STATES MAGISTRATE JUDGE




                                     NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than ten days after the plea
 hearing. Failure to file objections within ten days constitutes a waiver of any further right to
 challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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